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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  ERICK MANNERS,
                                                         Case No. 06-20465
           Petitioner,
                                                         Honorable Nancy G. Edmunds
  v.

  UNITED STATES OF AMERICA,

           Respondent.
                                            /

         ORDER DENYING PETITIONER'S MOTION TO ALTER OR AMEND THE
                             JUDGMENT [2809]

       Petitioner Erick Manners timely moves under Federal Rule of Civil Procedure 59(e)

  to alter or amend the Court's order denying his motion to vacate his judgment pursuant to

  28 U.S.C. § 2255. Petitioner argues that he is entitled to relief because the Court "relied

  upon the wrong caselaw in making its judgment." (Dkt. 2809, at 1.) The Court disagrees

  and DENIES Petitioner's motion for the following reasons.

       Petitioner challenges the Court's legal analysis, so the Court construes his motion as

  a motion for reconsideration pursuant to Local Rule 7.1. See United States v. Savage, 99

  F. App'x. 583, 585 (6th Cir. 2004) ("A Rule 59(e) motion may be properly analyzed as a

  motion for reconsideration pursuant to Local Rule 7.1."). Under Rule 7.1(h) of the Local

  Rules for the Eastern District of Michigan, a party may move for reconsideration of a district

  court's order. For the motion to succeed, the movant “must not only demonstrate a

  palpable defect by which the court and the parties ... have been misled but also show that

  correcting the defect will result in a different disposition of the case.” E.D. Mich. L. R.

  7.1(h). A court generally will not grant a motion for reconsideration that “merely present[s]
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  the same issues ruled upon by the court, either expressly or by reasonable implication.”

  Id.

        Petitioner has not demonstrated that he is entitled to relief under Local Rule 7.1.

  Petitioner does not (1) direct the Court's attention to any new facts or law; (2) point to a

  clear error committed by the Court; or (3) raise any issues that have not already been

  litigated. Furthermore, Plaintiff misapprehends the governing law. Petitioner argues that

  the Court erred in applying United States v. Taylor, 814 F.3d 340 (6th Cir. 2016) in light of

  the holding in Shuti v. Lynch, 828 F.3d 440 (6th Cir. 2016). However, the court in Shuti

  did not overrule Taylor. The court there stated: "[W]e find Taylor wholly consistent with our

  conclusion." Shuti, 828 F.3d at 449. Accordingly, Petitioner has not demonstrated any

  outcome-determinative palpable defect, and Petitioner's motion for reconsideration must

  fail. See E.D. Mich. L. R. 7.1(h).

        For the above-stated reasons, Petitioner’s motion is DENIED.

        SO ORDERED.

                       S/Nancy G. Edmunds
                       Nancy G. Edmunds
                       United States District Judge

  Dated: October 27, 2016

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on October 27, 2016, by electronic and/or ordinary mail.

                       S/Carol J. Bethel
                       Case Manager




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